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                      IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

  WAPP TECH LIMITED PARTNERSHIP
  AND WAPP TECH CORP.,

              Plaintiffs,
        v.
                                          Case No. 4:18-cv-00469-ALM
  SEATTLE SPINCO, INC., ET AL.,
                                          JURY TRIAL DEMANDED
              Defendants.




        DECLARATION OF DR. MATTHEW B. SHOEMAKE IN SUPPORT OF
     DEFENDANTS’ MOTION TO EXCLUDE SUPPLEMENTAL APPORTIONMENT
      OPINIONS FROM PLAINTIFFS’ TECHNICAL EXPERT, DR. SAM MALEK
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   CONTAINS CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER


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  I.     INTRODUCTION

         1.      I have reviewed the Supplemental Expert Report of Plaintiff’s expert, Dr. Sam

  Malek, dated February 11, 2021 (“Malek Supplemental Report”). I have also analyzed the

  Court’s February 4, 2021 Memorandum Opinion and Order in which the Court noted

  deficiencies in Dr. Malek’s opening report on infringement (“Infringement Report”). Dr. Malek

  continues to disclose new and flawed theories of apportionment. In § II of this declaration, I

  highlight certain new positions that Dr. Malek has disclosed. The fact that network virtualization

  technology predates the Asserted Patents is covered in § III. The fact that prior art versions of

  LoadRunner contained network virtualization technology is covered in § IV. In § V I discuss the

  fact that prior art versions of LoadRunner supported the testing of mobile applications according

  to Dr. Malek’s infringement theories. Finally, § VI covers the fact that Dr. Malek’s

  apportionment theory fails to account for alleged resource graphs that are in prior art versions of

  LoadRunner.

         2.      In this declaration I use the terms network virtualization, network emulation and

  network simulation interchangeably and draw no distinction between them. Whether called

  virtualization, emulation or simulation, the ability to artificially cause network impairments such

  as latency/delay, throughput/bandwidth limitations, and packet errors is unquestionably

  technology that is in the prior art, as I explain below.

  II.    STATEMENTS OF DR. SAM MALEK

         3.      Dr. Malek asserts that there are no non-infringing alternatives for testing mobile

  applications using a virtualized network environment:

         As I have set forth in my Infringement report, there are no commercially acceptable
         non-infringing alternatives to the ’192, ’678 and ’864 patents for testing mobile
         applications using a virtualized network environment.




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  Malek Supplemental Report at ¶ 11 (emphasis added). This necessarily means that no prior art

  techniques were available for testing mobile applications in a virtualized network environment

  (not true), otherwise, such prior art techniques would be non-infringing alternatives. Cf. § IV

  below discussing prior art LoadRunner 7.8’s ability to test mobile applications with network

  virtualization.

          4.        In Dr. Malek’s Supplemental Report, he asserts the “patented function” is testing

  mobile applications with network virtualization.

          I sought to determine the relative value of testing mobile applications using a
          virtualized network environment (the patented function) to non-patented functions
          (i.e., non- virtualized network testing and non-mobile testing).

  Malek Supplemental Report at ¶ 14 (emphasis added). Such an assertion is not true, as evidenced

  by prior art versions of LoadRunner, which I discuss below. Dr. Malek’s failure to apportion out

  the value of prior art testing of mobile applications in a virtualized network environment leads to

  serious error in his apportionment result.

          5.        Dr. Malek also asserts the entire value proposition of the Accused Products is

  virtualized network testing:

              “… The Entire Value Proposition of the Accused Products is Virtualized Network
               Testing.” Id. ¶ 14 (underline in original).

              “MF’s own documents confirm that the ability to test in a virtualized network
               environment is of paramount importance and really the entire value proposition of
               the Accused Products.” Id. ¶ 17 (emphasis in original).

              “Again, MF is on record as saying its … entire ‘value proposition’ is virtualized
               testing.” Id. ¶ 24 (emphasis added)

              “Micro Focus itself clearly identifies virtualized network testing as having nearly all
               of the value (if not the entire value).” Id. ¶ 25 (emphasis added).




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            6.     Dr. Malek generally couches such assertions with reference to Micro Focus’s

  statements and marketing. In at least one place, however, Dr. Malek confirms that he agrees that

  the entire value proposition of the Accused Products is in virtualized network testing. Dr. Malek

  explains that without virtual testing, there is no need and no value for a product that only

  performs non-virtualized network testing, and thus all of the value is in testing in virtualized

  network environments:

            I agree, if you removed the ability to virtually test from the Accused Products
            there is essentially no need for the Accused Products. Theoretically applications
            could be tested under certain conditions on a non-virtual network environment.
            But there is nothing special, valuable or distinct about the Accused Products’
            ability to test applications in a non-virtualized networked environment that would
            generate value. This is why essentially all of the value of the Accused Products
            lies in the ability to virtually test software applications.

  Id. ¶ 24 (“all” emphasized in original, all other emphasis added).

            7.     Dr. Malek then transitions to explaining that “the underlying economic rationale

  for an apportionment of at least 80%” is based on (a) Micro Focus placing “essentially all of the

  value on virtualized testing”; (b) Micro Focus “focuses almost entirely on virtualized testing

  over non-virtualized testing in marketing”; and (c) “virtualized testing is core to and used to

  market at least 80% of the key features in each of the Accused Products.” Id. ¶ 26 (emphasis

  added).

            8.     There are two significant problems with this analysis as I discuss below.

            9.      First, if virtualized network testing accounts for the entire value proposition of

  the Accused Products, it is critical to determine if such network virtualization technology is in

  non-patented, prior art technology or is patented technology. In the sections below, I show that it

  is unquestionable that network virtualization technology existed in the prior art (§ III), prior art

  LoadRunner products had network virtualization (§ IV), and prior art LoadRunner products also

  allowed testing of mobile applications, under Dr. Malek’s infringement theory (§ V). Despite


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  these facts, Dr. Malek makes no attempt to apportion out non-patented network virtualization

  technology nor does he attempt to apportion out non-patented network virtualization technology

  used with testing of mobile applications.

         10.      Second, Dr. Malek’s supplemental report makes additional errors. When

  providing alleged justification for his 80% apportionment factor, Dr. Malek’s analysis is the

  opposite of apportionment. He looks for any features that are marketed as being related to

  network virtualization technology, and if that is the case, he apportions the entire value of the

  feature to the Asserted Patents. In my view, this is exactly the opposite of apportionment. Indeed,

  it is a problem that apportionment is designed to address: the capture of value from features and

  technology that are not attributable to the patented invention. This error can be seen in Dr.

  Malek’s statement that “virtualized testing … [is] used to market at least 80% of the key features

  in each of the Accused Products.” Id. ¶ 26. Dr. Malek’s analysis of nine “key features” seems

  focused on determining if there is a “relationship (if any) to network virtualization.” Id. ¶ 27.

         11.      Below, I provide a list of the nine “key features” that Dr. Malek uses to reach the

  8/9 fraction which he uses as justification for his 80% apportionment factor with regard to

  LoadRunner Professional, directly, and with regard to LoadRunner Enterprise and LoadRunner

  Cloud, derivatively. See id. ¶¶ 28–55. As will be seen, Dr. Malek errs by simply looking for

  some relationship between network virtualization and the feature and then assigning the full

  value of that feature (1/9 for each) to the Asserted Patents, which in my opinion is the opposite

  of apportionment:

              “Test Against a Broad Range of Applications and Protocols” – On its face, this
               feature is about a broad range of scripting protocols which is not a topic of the
               asserted patents. Despite scripting protocols for virtual users in the context of load
               testing servers (not mobile devices) not being discussed in the Asserted Patents, Dr.
               Malek says, “All of these applications and protocols rely on some type of a network
               and LoadRunner Pro uses network virtualization to properly test them under various


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            network conditions.” This is wrong on its face, because Dr. Malek is apportioning the
            full value of this feature to the Asserted Claims based on “applications and protocols”
            (which are not taught in the Asserted patents) “rely[ing]” on “network virtualization,”
            a feature that is off by default (as admitted by Dr. Malek) in the Accused Products,
            thus clearly not required for using “some type of network” much less the “broad
            range of applications and protocols.” Dr. Malek fails to apportion for network
            virtualization being off, the non-patented value of the applications and protocols
            themselves, for non-patented network virtualization technology, and instead assigns a
            full 100% of this feature to the Asserted Patents.

            “Record and Replay a Variety of Web 2.0 Technologies” – Here Dr. Malek
            focuses on “TruClient Technology” which is only one of many scripting technologies
            in the Accused Products. He performs no apportionment for other scripting
            technologies. He quotes a data sheet as saying, “gives you the ability to various levels
            of user activity, from the GUI level down to the transport and socket level” [sic]. Dr.
            Malek then links “transport and socket level” as phrases associated with networks.
            The then uses the association with networks to tie to network virtualization. He then
            concludes that “network virtualization is a core enabler of this feature” and therefore
            assigns 100% of the value of this feature to the Asserted Patents. I find this
            approaching of finding some link to network virtualization to be flawed methodology
            and to be the antithesis of proper apportionment analysis.

           “Scale Up Tests Leveraging the Public Cloud” – Dr. Malek’s here leverages the
            statement, “‘test the application before it goes live, so you can deploy with
            confidence’ using the cloud.” According to the Abstract of the ‘192 patent, the
            patents in suit are about emulating the execution of mobile device applications where
            the mobile device “is emulated … using … a processor extrinsic to the mobile
            device.” The primary purpose of the Accused Product is not testing applications for
            mobile devices at all, rather LoadRunner is designed to generate virtual users (called
            Vusers) that put load on a server in the cloud, not on a mobile device. LoadRunner is
            able to “scale up” by generating thousands to millions of Vusers to put load on cloud
            or web servers, not mobile devices. Nonetheless, Dr. Malek links LoadRunner’s
            ability to “scale up” by generating virtual users to the Asserted Patents. First, he
            asserts “network virtualization is key to this feature.” He argues this is true because
            “Cloud computing refers to a form of computing which resources on a server are
            made available to clients through the Internet.” So, he has taken “cloud” and linked it
            to “network” saying cloud computing is “network reliant” (emphasis added). Dr.
            Malek quotes a datasheet as saying, “you can add multiple cloud accounts and
            manage network profiles for your various LGs.” LG stands for load generator. A load
            generator creates multiple virtual users to put load on a server, i.e. it has nothing to do
            with testing whether an application for a mobile phone exhausts the resource of a


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            mobile device. Dr. Malek then apportions the entire value of load generators, load
            generators that existed in prior art versions of LoadRunner as a key initial feature, to
            the Asserted Patents which he further rationalizes by saying the “ability to scale up
            tests … requires the ability to emulate various networks.” Even if this statement were
            true (it is not), it does not relieve Dr. Malek from apportioning out the value of
            technology that is clearly in the prior art such as scaling up load using load
            generators.

           “Deliver Enterprise Load Generation, Monitoring, and Diagnostics” – Dr. Malek
            again here fails to apportion the value of load generation from the value of network
            virtualization. He makes a conclusory statement, “Without network virtualization, the
            generated load would be unrealistic,” to link network virtualization to load generation
            and thereby claim the entirety of the value of this feature for the Asserted Patents.
            This is a flawed methodology that leads to serious error.

           “Mobile Application Testing” – Here Dr. Malek relies on a non sequitur. He quotes
            language that indicates “integration with Network Virtualization.” He then assumes
            that integration indicates network virtualization is “core” to the feature of “mobile
            application testing.” Integration does not imply whether something is a core feature or
            not, thus Dr. Malek’s analysis is logically flawed. Further, the Asserted Patents are
            about testing applications running on a mobile device. Dr. Malek does not perform
            any type of apportionment analysis to determine if the “mobile application testing”
            described here is actually software running on a server in the cloud in support of
            mobile devices, as opposed to on the mobile devices themselves. Such software
            running on a server in the cloud is not an application for a mobile device of the
            Asserted Patents, and any value thereof would need to be apportioned from the value
            of the Asserted Claims. Dr. Malek performs no such analysis. Dr. Malek assumes
            then equates “platform” in a to different types of cellular networks, which gives him
            linkage to a network. Despite network virtualization being an optional feature in
            LoadRunner, he then declares “LoadRunner Pro uses network virtualization to create
            network conditions on those platforms.” Based on the non-sequitur and linkages
            based on the word “platform,” Dr. Malek then assigns 100% of the value of this
            feature to the Asserted Patents, without apportioning out any value of prior art
            network virtualization technology, software applications that run on a server instead
            of a mobile phone, or apportioning for situations where network virtualization is not
            even enabled.

           “Mobile Application Recording Options” – This feature has to do with recording,
            something not taught in the Asserted Patents. Dr. Malek fails to apportion for the
            “mobile application” being discussed having to do with software that runs on a server
            rather than a mobile device. Dr. Malek makes a conclusory statement declaring,


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               “Network virtualization is a key feature” to recording options. Dr. Malek links the
               description of “mobile application recording options” that uses the word
               “deployment” to “LoadRunner Pro” by saying, “LoadRunner Pro is used to emulate
               network conditions in a given deployment of software.” Through this flawed logic,
               Dr. Malek links an optional feature for recording of network traffic to network
               virtualization and then assigns the whole of the value of this feature to the Asserted
               Patents. This is flawed apportionment analysis. Further, Dr. Malek fails to address (a)
               the fact that the recording feature is an option; and (b) the fact that network recording
               to PCAP files was known prior art technology. See, e.g., https://github.com/the-
               tcpdump-group/libpcap/tree/libpcap-0.6.

              “Network Virtualization Support” – Here Dr. Malek assigns the whole of network
               virtualization technology to the Asserted Patents and performs no apportionment to
               remove value of non-patented network virtualization technologies including those in
               prior art versions of LoadRunner. Cf. §§ III-V below.

         12.      Dr. Malek thus arrives at his 8/9 = 88% apportionment factor which he says is

  consistent with the 80% value that he asserted in his Infringement Report. See Malek

  Supplemental Report ¶ 37. In summary with respect to my second point, Dr. Malek’s attempt to

  provide a basis for his 80% apportionment factor is fundamentally flawed, based on a flawed

  methodology and is grossly in error.

  III.   NETWORK VIRTUALIZATION TECHNOLOGY PREDATES THE ASSERTED
         PATENTS

         13.      As I explained in §V.D of my December 22, 2020 rebuttal expert report on non-

  infringement, network virtualization technology unquestionably predates the Asserted Patents.

  An early example of network virtualization is DummyNet which was integrated into the

  FreeBSD operating system in 1994. Additionally, prior art mobile device software development

  platforms from Apple and Android contain network virtualization capabilities. See also

  https://en.wikipedia.org/wiki/FreeBSD (showing “Dummynet traffic shaping” added in “22

  November 1994”). FreeBSD software has been used in many commercial products the most

  notable of which may be Apple’s use of it for Mac OS. See

  https://en.wikipedia.org/wiki/List_of_products_based_on_FreeBSD.


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         14.    More closely related to the Accused Products in this case, Shunra Software Ltd.

  (“Shunra”) was a company that developed network virtualization technologies. See

  https://web.archive.org/web/20040603034347/http://www.shunra.com/products/cloud/cloud_1.p

  hp from June 3, 2004. Indeed Shunra is the original creator of the accused Network

  Virtualization product, which Shunra originally marketed as WAN Emulation. Shunra products

  such as Shunra Cloud enabled developers to emulate network conditions:

         Designed for flexibility and ease-of use, Shunra\Cloud recreates a single network
         link on a computer in the lab. This enables users to test the performance of IP-
         based technologies under a variety of conditions such as latency, packet loss,
         jitter, bandwidth constraints and more. With Shunra\Cloud tests are fully
         customizable, repeatable, and can be automated enabling users to determine the real
         end-user experience without the complexity or risk of testing over the production
         network.

  Id. (emphasis added).

         15.    A diagram taken from the same shows prior art capabilities of Shunra products to

  created virtualized network testing environments that allow injection of network impairments

  such as “Latency” and “Packet Loss.”




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  Id.

         16.     Despite the fact that network virtualization technologies were clearly in the prior

  art, Dr. Malek does not apportion out the value of non-patented network virtualization

  technologies. This failure causes Dr. Malek’s technical apportionment to be grossly in error.

  IV.    PRIOR ART VERSIONS OF LOADRUNNER INCLUDED NETWORK
         VIRTUALIZATION

         17.     LoadRunner 7.6 and LoadRunner 7.8—along with Shunra WAN Emulation,

  which was later rebranded Network Virtualization—are prior art to the Asserted Patents.

         18.     Certain versions of LoadRunner product were available before June 10, 2005.

  Specifically, LoadRunner Version 7.6 and 7.8 were available at least by 2003. I have confirmed

  this date in several ways, including by reviewing copyright dates and associated metadata for

  product guides for both versions. As those guides and other sources also confirm, as of 2003, the

  LoadRunner product was a product of Mercury Interactive Corporation.

         19.     A 2002 press release indicates that Mercury Interactive, the maker of LoadRunner

  at the time, and Shunra Software, the maker of what was later renamed and is now accused as

  Network Virtualization in this case, announced the companies’ products would be integrated:

         Shunra Software has announced that it is teaming with Mercury Interactive
         (NASDAQ:MERQ) to integrate its Wide Area Network (WAN) emulation
         technology with Mercury Interactive’s industry leading load test software.

  https://www.thefreelibrary.com/Shunra%2Band%2BMercury%2BInteractive%2Bteam%2Bto%2

  Bforecast%2Band%2Boptimize...-a092826257

         20.     The same article states that as a result of the partnership, Mercury Interactive’s

  load testing software will add WAN emulation capabilities:

         Additionaly, Mecury Interactive will provide WAN emulation capabilities in the
         load testing software.

  Id.


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         21.     The same article states that Shunra’s network emulation technology will be

  integrated with LoadRunner. Further, the combined product is stated to determine the actual

  network performance and to graph baseline performance information:

         Shunra\Forecaster integrates Shunra's award-winning WAN emulation product,
         Shunra\Storm, with Mercury Interactive's powerful load testing software,
         LoadRunner and Astra LoadTest, enabling IT professionals to emulate the real
         network topology and conditions that cannot be brought into the lab, and the
         multitude of end-users accessing the application from various locations
         worldwide. The combined emulation of the network and user load allows
         Shunra\Forecaster to determine the actual network performance and its impact on
         end-user response times, graph baseline performance information, and evaluate
         SLAs.

  Id. (emphasis added).

         A. LoadRunner 7.6

         22.     In this section, I show that LoadRunner 7.6 is prior art and contains network

  virtualization technology.

                 1. Public forum posts (Exh. A)

         23.     By early 2003, a public website forum named Software Test and Quality

  Assurance Forums (www.sqaforums.com) had public posts from January 28, 2003 to March 5,

  2003 indicating that Shunra’s network emulation technology had been integrated into Mercury

  Interactive’s LoadRunner product.

  http://www.sqaforums.com/showflat.php?Cat=0&Number=111093&page=&fpart=&vc=1&X-

  ANT-WAF-Attempt=1. I attach a copy for convenient reference as exhibit A hereto.

         24.     The public forum posts confirm that Shunra’s network emulation technology was

  added to LoadRunner at version 7.6, and that integration allowed virtualized network testing to

  be performed in LoadRunner. They also confirm that due to the integration, network profiles

  existed and could be accessed, bandwidth limits and latency and network errors could be




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  simulated and tested, and reports (including of response times) were available, all from within

  LoadRunner, as of version 7.6.

                 2. Analysis User’s Guide (Exh. B)

         25.     I now turn to the LoadRunner Analysis User’s Guide Version 7.6 from Mercury

  Interactive. See MFDEFS00284840-285208. Excerpts are attached in exhibit B hereto. This

  document confirms that features whose value Dr. Malek apportions to the Asserted Patents were

  already available in LoadRunner 7.6.

         26.     LoadRunner 7.6 includes network emulation. This network emulation includes

  effects such as latency, packet loss, link faults and dynamic routing. The Analysis tool even

  allows the time period that the network emulator was active to be displayed as part of the

  analysis graphs. Id at pp. 54-55 (non-bates page-number references are to internal pagination).

  The graph shows that network emulation can be used with LoadRunner testing:




  Id.




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         27.     Another example shows bandwidth measurements (“Bytes per second”) being

  displayed as a graph of the results of running a test scenario. The specific period during which

  network emulation is enabled is indicated on the graph. Id. at p. 56. Note again Dr. Malek

  accuses bandwidth as being a resource of the mobile device.




  Id.

                 3. “Read Me First” (Exh. C)

         28.     I now turn to the document “Read Me First LoadRunner 7.6 WAN Emulator Add-

  n.” See MFDEFS00285995-997. This is reproduced as exhibit C. This document confirms that

  the network virtualization technology was integrated with LoadRunner 7.6 and came from

  Shunra:




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  MFDEFS00285995 (yellow highlighting added).

         29.     This add-in enables virtualized network testing:




  Id. (yellow highlighting added).

         30.     The network emulation capability allows phenomena like packet loss, latency,

  congestion, bits errors, packet ordering, fragmentation and link disconnections to be emulated:




  Id. (yellow highlighting added).

         31.     In summary, LoadRunner 7.6 enables (a) the generation of test scripts using

  VuGen; (b) has a Controller for running test scenarios that can use one (or more) virtual users


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  (Vusers) running a script from VuGen; (c) contains an Analysis program for analyzing the results

  of a test run; (d) contains virtualized network emulation; and (e) can generate resulting graphs

  that show the throughput to the virtual client. Thus, LoadRunner 7.6 contains the features that

  Dr. Malek uses to demonstrate alleged infringement along with network virtualization, a fact Dr.

  Malek’s apportionment analysis does not account for.

         B. LoadRunner 7.8

         32.     In this section, I show that LoadRunner 7.8 is also prior art and contains network

  virtualization technology.

                 1. “Read Me First” (Exh. D)

         33.     The document titled “LoadRunner 7.8 Read Me First” is available at

  MFDEFS00285954–73. It is reproduced as exhibit D. This document has a copyright in 2003,

  which corresponds to the release of LoadRunner 7.8. See MFDEFS00285973.

         34.     The document reaffirms that WAN emulation was added in LoadRunner 7.6. It

  indicates WAN emulation allows emulation of networks. The testing can happen during a load

  test. Note that Dr. Malek relies on a Vuser running a script during the load test to satisfy claim

  limitations related to a mobile device and emulation of mobile applications. The text below also

  indicates the user can select certain types of network impairments to be used during the network

  emulation:

                 WAN emulation enables you to emulate the behavior of a wide
                 variety of network infrastructures during a load testing scenario.
                 Set parameters that characterize WAN effects such as latency,
                 packet loss, dynamic routing effects, and link faults, and monitor
                 the effects of your emulation settings on the network performance.

  MFDEFS00285955 (emphasis added).




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           35.   Further support for the inclusion of WAN Emulation in the LoadRunner

  Controller is shown under “Controller Requirements.” MFDEFS00285956 (“WAN Emulation

  requires a … network interface card ….”).

           36.   Support for “WAN Emulation” is also evidenced under the “Controller” section at

  MFDEFS00285955 (“WAN Emulation…,” “The WAN Emulation driver…,” “To reset the

  WAN Emulator driver…” and “where WLAN emulation resides”).

                 2. Controller User’s Guide (Exh. E)

           37.   The LoadRunner Controller’s User’s Guide Version 7.8 is a document that

  describes the operation the Controller program that is used to execute load tests in LoadRunner

  7.8. See MFDEFS00285210. It is excerpted in exhibit E hereto. The copyright on the guide is

  2003. Id. at copyright page.

           38.   The Controller 7.8 allows for execution of load tests based on Vuser scripts. A

  scenario is defined that uses one or more scripts. Id. at p. xi (“To generate load, LoadRunner runs

  thousands of Virtual Users….”); see also id. at p. 4 (“LoadRunner … replace[s] human users

  with virtual users or Vusers.”).

           39.   Chapter 5 discusses the design of scenarios. Id. at p. 49. This includes the use of

  network virtualization technology named “WAN Emulation.” Id. Chapter 5 discusses details of

  selecting a script to run, setting the number of Vusers to run (e.g. one for a single-user baseline

  test).

           40.   The configuration of WAN Emulation is described as part of “Configuring Load

  Generator Settings.” Id. at p. 77. This includes WAN Emulation. Id. It can be seen that WAN

  Emulation is one of the tabs under “Load Generator Information”:




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  Id. at p. 79.

          41.     The “Configuring of WAN Emulation Settings” is discussed at pp. 95-101. For

  example, as page 95 there is a screen with a tab that is where WAN Emulation settings are

  selected:




                                                16
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         42.       Clicking “Enable WAN Emulation on Load Generator” causes WAN Emulation

  to be enabled.

         43.       There are predefined profiles that can be selected from the “Set Predefined

  Profiles” pulldown menu. A number of predefined profiles are included. Id. at pp. 96-97. This

  includes a “Metropolitan Area Network link” that emulates networks in a metropolitan area.

  Cellular networks are such networks.

         44.       Whether set manually or via predefined profile, there are a number of

  impairments such as latency, packet loss, packet ordering, bit errors, duplication, link disconnect

  and fragmentation that the WAN Emulator can apply. Id. at pp. 97-99.

         45.       Moreover, WAN Emulation can be stopped and restarted anytime during a

  scenario run to see the impact of the WAN Emulation. This is complementary to the ability of

  Analysis 7.8 to indicate in graphs when WAN Emulation was enabled and disabled. Id. at p. 101.




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                 3. Run-time Settings

         46.     In addition to reviewing documentation, I have also operated LoadRunner 7.8.

  Through that, I have further confirmed that LoadRunner 7.8 also has the ability to enable

  virtualized network testing via “Run-time settings.” This can be seen below in the LoadRunner

  7.8 Controller. Here before starting the load test, I have limited the bandwidth using a pre-

  determined profile for 512 kbps DSL. Custom settings of bandwidth can also be set as can be

  seen below.




  LoadRunner Controller showing Run-time settings.

         47.     Run-time settings may also be set for a script in VuGen 7.8:




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  VuGen 7.8 showing pizza-ordering script in background with Run-time setting window open to
  Network > Speed Simulation.

  V.     PRIOR ART VERSIONS OF LOADRUNNER WERE CAPABLE OF TESTING
         “MOBILE APPLICATIONS,” UNDER DR. MALEK’S THEORIES.

         48.     In this section, I show that LoadRunner 7.8 also had the ability to test mobile

  applications under Dr. Malek’s infringement theories.

         49.     I do not agree with Dr. Malek’s infringement theories. The Asserted Patents are

  about testing of applications for mobile devices. Those applications are to be run on a mobile

  device, not a cloud server. This can be seen because the problem statement of the patents is

  overload of the resources of the mobile device. Dr. Malek does not differentiate between mobile

  applications that run on a mobile device versus “mobile applications” that are actually software

  that runs on a server in the cloud. A person of ordinary skill in the art would not view software

  that runs on a server in the cloud as an application for a mobile device of the claims. However,

  under Dr. Malek’s infringement theory, which is based on scripts that generate virtual users,

  LoadRunner 7.8 generates such virtual users that correspond to mobile devices and network

  traffic therefrom. Thus, under Dr. Malek’s infringement theory, Dr. Malek would necessarily



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  need to apportion out the value of non-patented technology in prior art versions of LoadRunner

  that include network virtualization and what Dr. Malek calls mobile device testing.

         50.     I also note that throughput and page load times are not resources of a mobile

  device, as Dr. Malek asserts. Nonetheless, under Dr. Malek’s infringement theory, testing of

  mobile applications in a virtualized network environment with profile display windows showing

  throughput and page load times existed in prior art LoadRunner 7.8, and I document those facts

  below. Dr. Malek fails to apportion based on these facts.

         51.     There are numerous scripting protocols in LoadRunner 7.8 that allowed for the

  generation of virtual users (Vusers) that would have corresponded to mobile devices. Those

  include WAP, Web – HTTP/HTML, Real, Palm and E-mail protocols. In the sections below, I

  discuss each of these scripting protocols.

         52.     I have tested LoadRunner 7.8 myself including VuGen, Controller and Analysis.

  When VuGen 7.8 starts, the user has the option of selecting from numerous protocols. I selected

  “New Protocol Script,” and the window changed to provide a list of available script protocols

  shown in the images below:




                                                 20
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         A. WAP

         53.    WAP is a protocol specifically designed for mobile devices. It acts like a web

  browser for mobile devices with limited resources.

  https://en.wikipedia.org/wiki/Wireless_Application_Protocol;

  https://web.archive.org/web/20010602075145/http://wap.com/cgi-bin/wapfaq.cgi?chapter=0.

  WAP was a Vuser Type in LoadRunner Version 7.8. See MFDEFS00285233 in Exh. E hereto.

         54.    LoadRunner 7.8 included integration features with WAP development toolkits

  from phone manufacturers such as Nokia and Ericsson. Such toolkits included the Nokia WAP

  Toolkit 2.1 that was available for free and included a mobile device emulator for development of

  WAP applications. See https://www.globenewswire.com/news-

  release/2001/02/06/1843994/0/en/Nokia-launches-WAP-Toolkit-2-1-with-new-mobile-phone-

  emulators-additional-functionality-for-developers-and-a-new-API-for-integration-with-third-

  party-development-environments.html

         B. Web – HTTP/HTML

         55.    Web – HTTP/HTML is a scripting protocol that corresponds to web browsers that

  make requests to websites. The primary web protocol is HTTP, and the type of page retrieved is




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  commonly coded in HTML. Web (HTTP,HTML) was a Vuser Type in LoadRunner Version 7.8.

  See MFDEFS00285233.

         56.     Further, as evidence that mobile devices in circa 2003 had a web browser, I use

  the Palm Treo 600 as an example. The Treo 600 was released in November 2003 and had a web

  browser. See https://en.wikipedia.org/wiki/Treo_600.

         57.     Windows Mobile 2003 also included a Pocket Version of Internet Explorer and

  was designed to run on smartphones. See https://en.wikipedia.org/wiki/Windows_Mobile_2003;

  see also https://en.wikipedia.org/wiki/Windows_Mobile;

  https://en.wikipedia.org/wiki/List_of_Windows_Mobile_devices#Windows_Mobile_2003 and

  https://en.wikipedia.org/wiki/Pocket_PC_2002.

         C. Real

         58.     The Real protocol corresponds to Real Players. See

  https://en.wikipedia.org/wiki/RealPlayer. Real Player was available for mobile devices running

  Symbian and Palm OS. In 2003 Real Networks was demonstrating players for Windows CE and

  Pocket PC, and the Nokia 9210 smartphone already had a real player. See

  https://www.zdnet.com/article/realnetworks-streams-into-mobiles/; see also

  https://www.eetimes.com/qualcomm-upgrades-video-audio-capabilities-of-cdma-chipsets/. Real

  Networks offered products for streaming media and audio services in circa 2003. RealPlayer was

  a Vuser Type in LoadRunner Version 7.8. See MFDEFS00285233. The RealPlayer scripting

  protocol in LoadRunner 7.8 allowed the generation of Vusers corresponding to Real streaming

  traffic such as audio and/or video that would be streamed to a mobile device.




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         D. Palm

         59.    Palm was also a Vuser Type in LoadRunner Version 7.8. See MFDEFS00285233.

  Palm devices could communicate over the Internet to servers, and the VuGen Palm scripting

  protocol allowed those communications to be captured in a VuGen script:

         Palm-based applications offer two ways to communicate with a remote server:
         cradle and wireless. Palm application docked on a cradle communicate directly
         with their servers over the Internet through the HotSync service. VuGen allows
         you to capture all traffic channeled through Palm’s HotSync service. Since many
         applications use HTTP as a transport layer to communicate to their server, the script
         generated is web-like, and inherits the same syntax and functionality as Web. In
         rare occasions, the traffic is channeled over a proprietary protocol. This proprietary
         traffic will also be recorded and represented as WinSock functions in the script.

  Id. at pp. 444-445 (emphasis added).

         63. Palm was a manufacturer of mobile devices. See, e.g.,

  https://web.archive.org/web/20040406045152/http://www.palmone.com/us/products/smartphone

  s/. These mobile devices included mobile devices that were connected to cellular networks, such

  as the Palm Treo 600. Id.

         E. E-mail protocols (SMTP, POP and IMAP)

         62. By 2003 smartphones also had e-mail capability. LoadRunner 7.8 contained a number

  of scripting protocols related to e-mail. This includes SMTP, POP and IMAP. See

  MFDEFS00285233. These mail service protocols facilitate both incoming and outgoing e-mail.

  In the 2003 time period numerous mobile devices supported e-mail including. See, e.g.,

  https://web.archive.org/web/20040402025022/http://www.palmone.com/us/products/smartphone

  s/treo600/, https://gagadget.com/en/cellphones/21134-10-legendary-sony-ericsson-mobile-

  phones/, https://nokiamuseum.info/category/launching-year/2003/ and

  https://en.wikipedia.org/wiki/Windows_Mobile_2003.




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  VI.     PRIOR ART LOADRUNNER CONTAINS GRAPHS FOR THROUGHPUT AND
          PAGE-LOAD TIMES

          A. LoadRunner 7.6

          60.     LoadRunner 7.6 had the ability to display “Web Resource Graphs” after the run of

  a test scenario. One such graph is a “Throughput Summary Graph.” Id. at p. 77. The

  “Throughput Graph” shows the “amount of throughput on the server during each second of the

  scenario run.” Id. at p. 80. Thus, when scenarios are run with a single Vuser, this throughput

  graph represents the throughput to the user as measured at the server. Dr. Malek alleges that such

  a throughput meets the requirement of profile display windows to display resource availability of

  a mobile device. I have reproduced a graph from the LoadRunner Analysis User’s Guide

  (excerpted in Exh. B):




  Id. at p. 80.




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         B. LoadRunner 7.8

         61.     I have personally tested LoadRunner 7.8 including the VuGen, Controller and

  Analysis programs. I note in Dr. Malek’s apportionment analysis that there is no apportionment

  related to prior art graphs that were available in prior art versions of LoadRunner.

         62.     Dr. Malek accuses throughput and web page load times (DOM load times) as

  being resources of a mobile device. While I disagree with this infringement theory—e.g. how

  long a page takes to load from a web server would not be considered a resource of a mobile

  device—since these features existed in prior art versions of LoadRunner, Dr. Malek should have

  apportioned out and excluded their value as part of his apportionment analysis.

         63.      I recorded and ran a Web – HTTP/HTML script based on a faux pizza-ordering

  website. I then ran the script in LoadRunner’s Controller 7.8. I selected a single Vuser. I

  configured the Controller to show the following graphs: (a) Throughput, (b) Hits per Second; (c)

  HTTP Responses per Second; and (d) Running Vusers. The image below shows the test after it

  ran. The test took approximately 50 seconds. The Controller window showing the throughput

  graph is shown below. There it can be seen that there is activity near the beginning of the test

  which corresponds to the pizza-ordering webpage loading, which included a number of images.

  Near the end of the 50-second run, the order is entered, and the server returns an order summary,




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  which is a much smaller amount of textual data.




  LoadRunner Controller 7.8 running single pizza-ordering Vuser with WAN Emulation enabled
  using predefined profile for “Transatlantic Low Congestion link (Satellite).”


         64.    Further, I used the LoadRunner Analysis 7.8 program to display Web Page

  Breakdown graphs. I did this for the same pizza-ordering webpage that was used above. The

  graph below shows the initial load of the pizza-ordering webpage took 4.75 seconds. When the

  order was placed, it took 0.624 seconds for the order summary page to load.




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  LoadRunner 7.8 Analysis showing Web Page Breakdown graph for single-user, pizza-ordering
  test.

         65.     Dr. Malek additionally errs by not apportioning for the ability of prior art versions

  of LoadRunner to display throughput and page-load time graphs.

  VII.   COMMUNITY EDITION LICENSE

         66.     In his February 19, 2021 deposition, Dr. Malek stated that “the product that [he]

  examined … comes with a community bundle -- a community license.” The LoadRunner

  Community license is a perpetual license given free of charge, with no purchase required, but

  limited to: “1 Controller allowing 1 concurrent run, 1 PC Lifecycle user, and 50 permanent

  Vusers.” https://www.microfocus.com/en-us/products/loadrunner-enterprise/pricing. Based on

  that, the differences between the free community license rights and the rights granted to

  purchasers of other LoadRunner licenses have to do with scale: more controllers, more

  concurrent runs, more Lifecycle users, and more Vusers.

         67.     None of those scaling distinctions between the free Community License and the

  licenses for which Micro Focus charges is pertinent to the Asserted Patents. But Dr. Malek does

  not apportion out any value for those scaling features—even though those features appear to be

  solely responsible for all of Micro Focus’s revenues from the accused products, because it is

  those unpatented scaling features, rather than the features that Dr. Malek accuses of

  infringement, that distinguish the free Community License that Dr. Malek considered from the

  licenses for which Micro Focus does charge. This is another grave defect in Dr. Malek’s

  supplemental apportionment analysis. Because the free Community License differs from the

  revenue-generating licenses only in unpatented ways, all of the revenues should be apportioned

  to the unpatented features.




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  VIII. ATTESTATION

         I declare under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct to the best of my knowledge and that this declaration was executed

  on February 21, 2021 in Washington, D.C.




                                                              Matthew B. Shoemake




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